        Case 2:07-cr-20168-JWL Document 1924 Filed 07/09/20 Page 1 of 7




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                      Plaintiff,       )
                                       )
      v.                               )                Case No. 07-20168-02-JWL
                                       )
MONTERIAL WESLEY,                      )
                                       )
                      Defendant.       )
                                       )
_______________________________________)


                           MEMORANDUM AND ORDER

       This matter comes before the court on defendant’s motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A) (doc. #1907). For the reasons set forth below, the

court denies the motion.

       Defendant Monterial Wesley was indicted on twelve counts relating to a conspiracy

to distribute cocaine and cocaine base in and around Kansas City. In April 2009, after the

jury was impaneled but before any evidence was presented, Mr. Wesley pled guilty to four

counts of the indictment, including conspiracy to manufacture, to possess with intent to

distribute, and to distribute fifty grams or more of cocaine base and to possess with intent

to distribute and to distribute five kilograms or more of cocaine. He went to trial on the

eight other counts, along with a number of co-defendants, and was subsequently convicted

on two of them. Ultimately, in October 2009, the court sentenced Mr. Wesley to 360

months imprisonment. Mr. Wesley is presently incarcerated at FCI Forrest City Low and
        Case 2:07-cr-20168-JWL Document 1924 Filed 07/09/20 Page 2 of 7




his anticipated release date is February 2, 2034. On May 26, 2020, Mr. Wesley filed the

instant motion through counsel. The motion is fully briefed and ripe for ruling.1

       Mr. Wesley argues that relief is warranted here because his underlying health

conditions place him at imminent risk of serious complications or death if he were to

contract COVID-19. Specifically, Mr. Wesley asserts that his seizure disorder and high

cholesterol render him susceptible to serious complications from COVID-19.2 Section

3582(c)(1)(A) provides that a court may reduce a term of imprisonment for “extraordinary

and compelling reasons.” The moving defendant bears the burden of establishing that such

a “compassionate release” is warranted under the statute. See, e.g., United States v. Jones,

836 F.3d 896, 899 (8th Cir. 2016) (defendant bears burden to show reduction is warranted

under Section 3582(c)(2)); United States v. Bright, 2020 WL 473323, at *1 (D. Kan. Jan.

29, 2020) (“extraordinary and compelling” standard imposes a heavy burden on a

defendant seeking relief under Section 3582(c)(1)(A)). A court exercises its discretion in

ruling on such a motion. See United States v. Chambliss, 948 F.3d 691, 693 (5th Cir. 2020)

(reviewing denial for abuse of discretion); United States v. Saldana, 2020 WL 1486892, at


1
  The government does not dispute that Mr. Wesley has satisfied the statute’s exhaustion
requirement such that this court has jurisdiction to resolve the merits of Mr. Wesley’s
motion.
2
  In his motion, Mr. Wesley also asserts that he has a history of respiratory infections
related to juvenile asthma. As the government noted in its response, the medical records
attached to Mr. Wesley’s motion do not indicate that Mr. Wesley’s condition in that
regard is chronic, severe or debilitating in any respect. The government requested that
Mr. Wesley, in his reply, provide additional support for his assertion that his asthma
presented a serious health condition. In reply, Mr. Wesley relies only on his seizure
disorder and his high cholesterol. The court, then, understands that Mr. Wesley is no
longer asserting a history of respiration infections based on juvenile asthma or any
underlying conditions related to asthma as a basis for compassionate release.
                                             2
        Case 2:07-cr-20168-JWL Document 1924 Filed 07/09/20 Page 3 of 7




*2 n.4 (10th Cir. Mar. 26, 2020) (unpub. op.) (same) (citing United States v. Piper, 839

F.3d 1261, 1265 (10th Cir. 2016)).

       18 U.S.C. § 3582(c)(1)(A) provides that a court may reduce a sentence if it finds

both (a) that extraordinary and compelling reasons warrant the reduction and (b) “that such

a reduction is consistent with applicable policy statement issued by the Sentencing

Commission.” See id. In addition, 28 U.S.C. § 994(t) provides that “[t]he [Sentencing]

Commission, in promulgating general policy statements regarding the sentencing

modification provisions in section 3582(c)(1)(A) of title 18, shall describe what should be

considered extraordinary and compelling reasons for sentence reduction, including the

criteria to be applied and a list of specific examples.” See id. The Sentencing Commission

responded to that mandate by promulgating the policy statement found at U.S.S.G. §

1B1.13.

       In Section 1B1.13, the Commission added the requirement that the defendant not be

a danger to the safety of another person or the community. See id. In addition, in

Application Note 1 to the statement, the Commission set forth four circumstances (in

subdivisions (A) through (D)) under which “extraordinary and compelling reasons” may

exist. See id. application note 1. Subdivisions (B) and (C) depend on the defendant’s age

and family circumstances, and they are not applicable here. See id. Subdivision (A) sets

forth the following qualifying medical condition: the defendant is either (i) suffering from

a terminal illness; or (ii) suffering from a serious physical or medical condition that

substantially diminishes his or her ability to provide self-care within the prison

environment from which he or she is not expected to recover. See id. Mr. Wesley briefly

                                             3
        Case 2:07-cr-20168-JWL Document 1924 Filed 07/09/20 Page 4 of 7




argues that he can satisfy subdivision (A). However, Mr. Wesley contends only that he is

not expected to recover from his medical conditions—he makes no argument that those

conditions substantially diminish his ability to provide self-care within the prison

environment. Mr. Wesley, then, has not shown that he is entitled to relief under this

subdivision.

       That leaves subdivision (D), known as the “catchall” provision, which in its present

form provides as follows:

              (D) Other Reasons. – As determined by the Director of the Bureau
       of Prisons, there exists in the defendant’s case an extraordinary and
       compelling reason other than, or in combination with, the reasons described
       in subdivisions (A) through (C).

See id. Subdivision (D) thus provides that circumstances other than those listed in

subdivisions (A) through (C) may be sufficient to warrant relief, as determined by the

Bureau of Prisons (BOP). The BOP has made no such determination in this case.

Nevertheless, as this court has previously determined, in accordance with the weight of

authority, the court is not limited to circumstances (A) through (C), and it may exercise its

own discretion to determine whether other extraordinary and compelling reasons warrant

relief under the statute. See United States v. Jackson, 2020 WL 2812764, at *3 (D. Kan.

May 29, 2020). As will be explained, the court concludes in its discretion that Mr. Wesley

has not met his burden to show that extraordinary and compelling circumstances warrant

his immediate release from prison because he has not shown that he suffers from medical

conditions that place him at an elevated risk of harm from the virus.




                                             4
        Case 2:07-cr-20168-JWL Document 1924 Filed 07/09/20 Page 5 of 7




       Mr. Wesley asserts that his high cholesterol and seizure disorder both increase his

risk of harm in the event that he contracts the virus. The record, however, reflects that Mr.

Wesley’s cholesterol is managed with daily medication and there is no evidence that this

condition is debilitating in any way.      Moreover, high cholesterol is not among the

conditions cited by the Centers for Disease Control as involving some increased risk of

complications from Covid-19 infection. See United States v. Barnes, 2020 WL 3606354,

at *2 (E.D. La. July 2, 2020) (high cholesterol does not equate to serious heart condition

and does not otherwise qualify as high-risk for COVID-19 complications); United States

v. Machuca-Quiintana, 2020 WL 3047596, at *4 (D. Kan. June 8, 2020) (denying relief

and noting that high cholesterol is not among the conditions cited by the Centers for

Disease Control as involving some increased risk of complications from Covid-19

infection); United States v. Morrison, 2020 WL 2735749, at *1 (D. Kan. May 26, 2020)

(denying motion for compassionate release despite fact that inmate had high cholesterol

because medical records did not indicate that the condition was serious); People Who Are

at Higher Risk for Severe Illness, CDC, https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/groups-at-higher-risk.html (last visited July 8, 2020).

       Similarly, the record does not support a finding that Mr. Wesley’s seizure disorder

places him at an increased risk of harm if he contracts the virus. Notably, the medical

records submitted by Mr. Wesley indicate that on March 5, 2020, Mr. Wesley told a

medical officer that he had not had a seizure in over a year and that he refused to take the

medication prescribed to him. The medical officer noted, then, that Mr. Wesley’s seizure

disorder was “resolved” and noted Mr. Wesley’s continued noncompliance with prescribed

                                             5
          Case 2:07-cr-20168-JWL Document 1924 Filed 07/09/20 Page 6 of 7




medical treatment, dating back to December 2015 when he never filled a prescription for

anti-seizure medication provided to him. Certainly, on this record there is no evidence that

any seizure disorder presents an increased risk of complications and seizures are not among

the conditions cited by the CDC as involving an increased risk.              United States v.

Poncedeleon, 2020 WL 3316107, at *2 (W.D.N.Y. June 18, 2020) (seizures do not present

increased risk); United States v. Numann, 2020 WL 1977117, at *3 (D. Alaska Apr. 24,

2020) (finding no extraordinary and compelling reasons to warrant release notwithstanding

the COVID-19 outbreak and defendant’s epilepsy); People Who Are at Higher Risk for

Severe       Illness,    CDC,       https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/groups-at-higher-risk.html (last visited July 8, 2020).

         Lastly, this is not a case in which the inmate has only a short time left to serve. Mr.

Wesley was sentenced to 360 months and the government maintains a valid public interest

in incarcerating him in accordance with the terms of his lawful sentence.

         Mr. Wesley, then, has simply not shown that he bears an increased risk of serious

medical harm, and the court is not prepared to order the release of any and all inmates,

solely because of the pandemic, in the absence of such a particularized risk. Accordingly,

the court in its discretion concludes that Mr. Wesley has not shown that extraordinary and

compelling reasons warrant his release from prison. The court therefore denies the instant

motion for relief under Section 3582(c)(1)(A).




                                                6
          Case 2:07-cr-20168-JWL Document 1924 Filed 07/09/20 Page 7 of 7




      IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s motion

for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A) (doc. #1907) is hereby

denied.



      IT IS SO ORDERED.



      Dated this 9th day of July, 2020, at Kansas City, Kansas.

                                               s/ John W. Lungstrum
                                               John W. Lungstrum
                                               United States District Judge




                                           7
